                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
       vs.                                        )       No. 13-05036-08-CR-SW-JFM
                                                  )
NATHAN KENT HERNANDEZ,                            )
                                                  )
                         Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Indictment filed on June 24, 2013, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ J. Frederick Motz
                                                       J. FREDERICK MOTZ
                                                  UNITED STATES DISTRICT JUDGE




Date: January 13, 2014




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